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NATERA'S FIRST AMENDED ANSWER,
DEFENSES AND COUNTERCLAIMS TO
RAVGEN'S COMPLAINT FOR PATENT
         INFRINGEMENT

         [PUBLIC COVER – FILED UNDER SEAL]




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                                CERTIFICATE OF SERVICE

       I hereby certify that all counsel of record who are deemed to have consented to electronic

service are being served this 4th day of May 2021, with a copy of this document via the Court’s

CM/ECF system. Any other counsel of record will be served by electronic mail, facsimile

transmission and/or first-class mail on this same date.

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